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                          UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF TEXAS
                               GALVESTON DIVISION

  THE STATE OF TEXAS,                              §
       Plaintiff,                                  §
                                                   §
  v.                                               §      CIVIL ACTION NO. 3:21-CV-309
                                                   §
  JOSEPH R. BIDEN, in his official                 §
  capacity as President of the United              §
  States, et al.,                                  §
          Defendants.                              §


                             THE STATE OF TEXAS’S
                       NOTICE OF SUPPLEMENTAL AUTHORY



        Plaintiff the State of Texas respectfully submits this notice of supplemental authority

to bring to the Court’s attention Kentucky v. Biden, --- F. Supp. 3d ---, 2021 WL 5587446 (E.D.

Ky. Nov. 30, 2021), attached as Exhibit A.

        In Kentucky v. Biden, a coalition of states and officials brought claims against President

Biden and his administration regarding the Contractor Mandate, making substantially similar

allegations as those Texas has made in this matter against Defendants. Id. at *1-2. The plaintiffs

filed a motion for temporary restraining order and preliminary injunction requesting that the

court enjoin the vaccination mandate. Id. The court found that the plaintiff states have

standing, id. at *3-5, that they are likely to succeed on the merits of at least some of their claims,

id. at *5-13, and that they “are likely to suffer irreparable harm without preliminary relief and

that preliminary relief is not contrary to the public interest.” Id. at *13. Accordingly, the court

enjoined the Contractor Mandate for all covered contracts in the plaintiff states.
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                                           Respectfully submitted.

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                                      CERTIFICATE OF SERVICE

        I hereby certify that the foregoing document and all attachments were filed via

CM/ECF on December 2, 2021, causing electronic service on all counsel of record.



                                                    /s/ Christopher D. Hilton
                                                    CHRISTOPHER D. HILTON




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